Case 8:18-cv-Ol779-EAK-TGW Document 4 Filed 07/20/18 Page 1 of 1 Page|D 39

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AO 440 (Rcv. 06/|2) Summons in a Civil Action

UNITED STATES DISTRICT COURT _ . y ¢_

for thc

Middle District of Florida

JENN|FER CABAN

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V .

F|FlST CONTACT, LLC, ALORICA, |NC., AND
iENERGlZER HOLDINGS LIMITED

civil Action No. @\. l€<-c_~) ~o\'\~ia~T- L‘l»“¥e-\J

Defendanl(s) n
SUMMONS lN A ClVlL ACTlON

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A-37, Sector 60,
Noida, Uttar Pradesh 201301, lndia

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) _ or 60 days ifyou
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) - you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff`s attorney,

whose name and address are: Heather H. Jones, ESq.
Wil|iam "Bi|ly" Peerce Howard, Esq.
4030 Henderson B|vd.,
Tampa, FL 33629

lf you fail to respond,judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

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S nalure ofC/erk ar Deputy Clerk

 

 

